                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )         MATTICE/CARTER
                                              )
        v.                                    )         CASE NO. 1:13-CR-89
                                              )
 TORREY GILMORE                               )



                                            ORDER

        On January 21, 2014, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to distribute 28 grams or more of a

 mixture and substance containing a detectable amount of cocaine base (“crack”), a Schedule II

 controlled substance, in violation of Title 21, U.S.C. §§ 846, 841(a)(1) and (b)(1)(B), in exchange

 for the undertakings made by the government in the written plea agreement; (b) the Court

 adjudicate Defendant guilty of the charges set forth in the lesser included offense in Count One of

 the Indictment; (c) that a decision on whether to accept the plea agreement be deferred until

 sentencing; and (d) Defendant shall remain in custody pending sentencing in this matter (Doc.

 187). Neither party filed an objection within the given fourteen days. After reviewing the

 record, the Court agrees with the magistrate judge=s report and recommendation. Accordingly,

 the Court ACCEPTS and ADOPTS the magistrate judge=s report and recommendation pursuant

 to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

        (1) Defendant=s plea of guilty to the lesser included offense in Count One of the Indictment,

 in exchange for the undertakings made by the government in the written plea agreement, is



                                                  1


Case 1:13-cr-00089-TRM-CHS           Document 205        Filed 02/10/14      Page 1 of 2      PageID
                                           #: 393
 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 April 28, 2014, at 9:00 am.

        SO ORDERED.

        ENTER:


                                                         /s/ Harry S. Mattice, Jr._______
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




                                               2


Case 1:13-cr-00089-TRM-CHS          Document 205      Filed 02/10/14     Page 2 of 2    PageID
                                          #: 394
